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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 C.B., a minor, by and through her
 father BROOK BAVILACQUA, and
 her mother MELISSA BAVILACQUA,

                Plaintiff,                        No. 23-cv-2367
           v.                                     Judge Franklin U. Valderrama

 BOARD OF EDUCATION OF
 MINOOKA COMMUNITY HIGH
 SCHOOL DISTRICT 111, RENEE
 EBEL, Dean of Students; and
 PATRICK WATSON, Dean of
 Students,

                Defendants.

                                         ORDER

       “Students do not shed their constitutional rights to freedom of speech or

expression at the schoolhouse gate.” 1 But school officials may curtail a student’s

speech if it materially disrupts classwork or involves substantial disorder or invasion

of the rights of others. 393 U.S. at 513. (cleaned up). 2

       C.B., a high school student, was suspended from school by Defendants Board

of Education of Minooka Community High School District No. 111 (the Board), Renee

Ebel (Dean Ebel), and Patrick Watson (Dean Watson) (collectively, Defendants), after




1 Tinker v. Des Moines Independent Community School Dist., 393 U.S. 503, 506 (1969)
(cleaned up).

2This Opinion uses (cleaned up) to indicate that internal quotation marks, alterations, and

citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations,
18 Journal of Appellate Practice and Process 143 (2017).
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she sent a message via Snapchat to another student outside of school, that

Defendants concluded was racially offensive and anti-immigrant in tone.

       C.B., by and through her parents (Plaintiff), sued, alleging that Defendants’

disciplinary actions violated her First Amendment Right to Freedom of Speech

(Count I) and her Right to Association (Count II), in violation of 42 U.S.C. § 1983. See

generally R. 27, First Amended Complaint (FAC). 3 Plaintiff also asserts claims for

injunctive and other relief (Count III), as well as indemnification under 105 ILCS

5/10-20.20 (Count IV).

       Defendants filed a Motion to Dismiss (the Motion) Plaintiff’s FAC for failure to

state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). R. 29, Mot.

Dismiss. This fully briefed Motion, see R. 33, Resp.; R. 34, Reply, is before the Court,

and for the reasons that follow, the Motion is granted as to Counts I and III and

denied as to Counts II and IV.

                                       Background 4

       At all relevant times, Plaintiff was a student at Minooka Community High

School (MCHS), a public school in Minooka, Illinois. FAC ¶¶ 2, 9. While attending

MCHS, Plaintiff was friends with her schoolmate G.G. Id. ¶ 17.

       Plaintiff and G.G. socialized with each other through Snapchat, a social media

app and messaging service, which allows users to communicate with each other by



3Citations to the docket are indicated by “R.” followed by the docket number or filing name,

and, where necessary, a page or paragraph citation.

4The Court accepts as true all the well-pled facts in the Complaint and draws all reasonable

inferences in Plaintiff’s favor. Platt v. Brown, 872 F.3d 848, 851 (7th Cir. 2017).



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sharing photos and messages. FAC ¶ 18. Such communications can be disseminated

broadly to many Snapchat users, or intimately to a single user. Id.

      Snapchat also permits a user to “block” another user. FAC ¶ 19. When a user

blocks another user, the two users can no longer socialize on Snapchat. Id. That is,

both users are removed from each other’s list of contacts, they are prevented from

seeing each other’s new messages, and the message history between the two users is

no longer available to either user. Id.

      On Thursday, April 15, 2021, G.G. used Snapchat to send a message to D.E.,

another MCHS student, that comprised three Internet images depicting the

American flag, U.S. service members, and what appears to be the grieving family of

a fallen solider. FAC ¶¶ 20–23; see also FAC, Ex. 1.

      In response to this message, D.E. replied to G.G. stating:

                                  fuck u n ya cops
                                  i will never stand for the plego
                                  pledge
                                  never have never will

FAC ¶ 25, [sic].

      G.G. then took and posted a screenshot of D.E.’s reply on Snapchat, along with

G.G.’s own comment responding to D.E.’s reply: “People like this make me sick.” FAC

¶ 27. G.G. did not stop at this one post. Thereafter, he “tagged” Plaintiff, which meant

that Snapchat would notify Plaintiff that G.G. wanted her to see what he had posted.

Id. ¶ 28.




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      That same day, April 15, at approximately 8:00 PM, Plaintiff did see G.G.’s

screenshot, and in response, Plaintiff sent G.G. the following direct message on

Snapchat regarding D.E.’s comment:

                                  cant even spell in english. leave.
                                  go back to wherever u came from.

FAC ¶¶ 30–31, [sic]. Plaintiff then sent G.G. a follow-up direct message, asking him

not to share her prior “leave” message with anyone. Id. ¶ 33.

      However, the next day, Friday, April 16, Deans Ebel and Watson learned about

Plaintiff’s “leave” message from D.E., and they directed G.G. to block Plaintiff on

Snapchat, a directive with which he complied. FAC ¶ 34.

      The following week, on Monday, April 19, Deans Ebel and Watson took

disciplinary measures against Plaintiff, in accordance with Board policy, including a

ten-day out-of-school suspension, social suspension through the remainder of the

school year prohibiting Plaintiff’s attendance at school-sponsored events, and 80

demerits for her conduct. FAC ¶ 38–40, 47.

      The Board was informed of the discipline imposed on Plaintiff, and either

approved it, or otherwise allowed it to remain in effect. FAC ¶ 41.

                                   Legal Standard

      A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the

complaint. Hallinan v. Fraternal Order of Police of Chi. Lodge No. 7, 570 F.3d 811,

820 (7th Cir. 2009). Under Federal Rule of Civil Procedure 8, a complaint must

include only “a short and plain statement of the claim showing that the pleader is

entitled to relief.” Fed. R. Civ. P. 8(a)(2). To survive a motion to dismiss, a complaint




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need only contain factual allegations, accepted as true, sufficient to “state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

        “A claim has facial plausibility when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Bell Atlantic Corp., 550 U.S. 544 The allegations “must be

enough to raise a right to relief above the speculative level.” Bell Atlantic Corp., 550

U.S. at 555. The allegations that are entitled to the assumption of truth are those

that are factual, rather than mere legal conclusions. Iqbal, 556 U.S. at 678–79.

                                       Analysis

        Defendants raise several arguments in support of their Motion. See generally

Mot. Dismiss. The Court addresses each argument in turn, beginning with

Defendants’ motion to dismiss Count I of the FAC.

   I.      Deprivation of Freedom of Speech (Count I)
        Section 1983 creates a cause of private right of action against any person who,

under color of state law, “subjects, or causes to be subjected” any person within the

United States “to deprivation of any rights, privileges, or immunities” secured by

federal law. 42 U.S.C. § 1983.

        Plaintiff alleges that Defendants, in violation of Section 1983, deprived her of

her First Amendment Right to Freedom of Speech. FAC ¶¶ 43–52. Plaintiff maintains

that, by disciplining her for her private Snapchat message, Deans Ebel and Watson

were following Board policy, or alternatively acting as final decision makers pursuant

to the power granted to them by Illinois law and by the Board. Id. ¶¶ 46–48. Such



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“deprivation of her rights,” according to Plaintiff, contravenes the First Amendment,

which prohibits public schools like MCHS from “abridging the freedom of speech.” Id.

¶¶ 43–52.

      Defendants move to dismiss Count I, maintaining that Plaintiff’s Freedom of

Speech claim is not viable. Mot. Dismiss ¶ 12. In support of their position, Defendants

argue that (1) Plaintiff’s allegations are “entirely conclusory,” as she failed to attach

the Board’s policy or cite to any language in the policy that is allegedly

unconstitutional; (2) the substance of the speech for which Plaintiff was disciplined

is not protected by the First Amendment; and (3) black letter law provides that

discipline may be imposed for conduct that occurs off-campus, where warranted. Id.

¶ 14. That is, where the message was sent from is less important than the impact it

could have on the school environment. Id. ¶ 19. In Defendants’ view, “[d]igital speech

that targets other students has a close nexus to the school, and its regulation is

permissible.” Id. ¶ 22.

      Defendants invite the Court to take judicial notice of contemporaneous world

events, beginning in May of 2020 throughout 2021, arguing that, against the

backdrop of the civil unrest and international protests in response to the murder of

George Floyd, the xenophobic “build the wall” chant, which began during the 2015–

2016 presential election season and continued through the 2020 presidential election

season, and January 6th insurrection at the U.S. Capitol, “it was reasonable to

anticipate that Plaintiff’s xenophobic message could have caused substantial

disruption at school.” Mot. Dismiss ¶ 18.




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       Next, Defendants address what they describe as Plaintiff’s “alternative” to her

claim concerning the constitutionality of the Board’s policy: whether Deans Ebel and

Watson are policymakers in the Monell context. Mot. Dismiss ¶ 24. Defendants insist

they are not, as under state and local law, the Board of Education has the final

decision-making authority to impose discipline on students. Id. ¶¶ 25–27 (citing

Killinger v. Johnson, 389 F.3d 765, 771 (7th Cir. 2004)). From Defendants’

perspective, “[m]ere authority to implement pre-existing rules is not authority to set

policy.” Id. ¶ 26 (citing Duda v. Board of Educ. of Franklin Park Pub. Sch. Dist. No.

84, 133 F.3d 1054, 1059–60 (7th Cir. 1998)).

       In response, Plaintiff argues that (1) under prevailing law, she need not attach

the Board’s policy, as allegations of an unwritten policy suffice to establish Monell

liability; (2) First Amendment precedent does not permit Defendants to discipline

Plaintiff as this case “does not involve a proactive ban.” Rather, “[i]t involves

punishment administered after the fact, where no disruption ever occurred.” Resp. at

6–7.

       As for Defendants’ request for judicial notice, Plaintiff objects. Resp. at 8.

Plaintiff argues that courts are not permitted to take judicial notice of facts, unless

those facts are relevant. Id. (citing Flores v. Board of Trustees of Community College

District No. 508, 103 Supp.3d 943, 948 (N.D. Ill. May 6. 2015)). In Plaintiff’s view, the

issue in this case is whether Plaintiff’s “leave” message caused substantial disruption

at school, and the Defendants do not explain how the news events they proffered




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“would have made it likely that Plaintiff’s conduct at her home would have caused

disruption at school.” Id.

      Lastly, with respect to Defendants’ policymaker contentions, in pertinent part,

Plaintiff argues that the prevailing law granted Deans Ebel and Watson the authority

to suspend students, authority which they exercised by suspending Plaintiff to the

maximum period imposed by law. Resp. at 11–12 (citing 105 ILCS 5/10-22.6(b)).

      In Count I, Plaintiff seeks redress for Defendants’ alleged constitutional

violations by asserting a Monell claim. See generally Compl.; Monell v. Dept. of Social

Services, 436 U.S. 658 (1978). To sufficiently state a claim for liability under Monell,

Plaintiff must allege that her constitutional injury was caused by (1) an express

policy; (2) a widespread practice that is so permanent and well settled, although not

authorized by written law or express policy, as to constitute a custom or usage with

the force of law; or (3) a person with final policy-making authority. Wragg v. Vill. of

Thornton, 604 F.3d 464, 467 (7th Cir. 2010). Plaintiff must also allege that the policy

or custom that inflicted the injury was the “moving force of the constitutional

violation.” Richter v. Wexford Health Sources, Inc., 2017 WL 2813658, at *5 (N.D. Ill.

June 29, 2017); Teesdale v. City of Chicago, 690 F.3d 829, 833 (7th Cir. 2012).

      When evaluating the sufficiency of a Monell claim, the Court must first

determine whether Plaintiff has alleged a constitutional violation. Fulton v. Bartik,

547 F. Supp. 3d 799, 819 (N.D. Ill. 2021) (citing City of Los Angeles v. Heller, 475 U.S.

796, 799 (1986)) (“Monell liability cannot survive without an underlying

constitutional violation by an individual defendant.”). Because the existence of such




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a violation is a prerequisite to Monell liability, the Court need not reach Plaintiff’s

arguments regarding the existence of a policy, practice, or final policymaker unless

and until a constitutional deprivation is adequately alleged.

      Upon consideration of the parties’ arguments and prevailing law, the Court

finds that Plaintiff has not plausibly alleged a constitutional injury arising from the

discipline imposed by Deans Ebel and Watson in response to her “leave” message.

      This Court’s analysis begins, as it must, with the “unmistakable,” canonical

First Amendment jurisprudence governing public schools for over a century: “It can

hardly be argued that students . . . shed their constitutional rights to freedom of

speech or expression at the schoolhouse gate.” Tinker v. Des Moines Independent

Community School Dist., 393 U.S. 503, 506 (1969) (citing Meyer v. Nebraska, 262 U.S.

390 (1923); Bartels v. Iowa, 262 U.S. 404 (1923)). It is also well established that First

Amendment rights of students in public schools “are not automatically coextensive

with the rights of adults in other settings.” Bethel School District No. 403 v.

Fraser, 478 U.S. 675, 682 (1986).

      Indeed, “[a] school need not tolerate student speech that is inconsistent with

its basic educational mission.” Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 266

(1988). “[S]chools have a special interest in regulating speech that materially disrupts

classwork or involves substantial disorder or invasion of the rights of others.”

Mahanoy Area Sch. Dist. v. B. L. by & through Levy, 594 U.S. 180, 188 (2021). “[T]hese

special characteristics,” as the Supreme Court has explained, “call for special leeway

when schools regulate speech that occurs under its supervision.” Id.




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      Such principles extend, in certain cases, to off-campus student speech. Id.

“[T]he special characteristics that give schools additional license to regulate student

speech [do not] always disappear when a school regulates speech that takes place off

campus.” Mahanoy Area Sch. Dist., 594 U.S. at 188. Put differently, “[t]he school’s

regulatory interests remain significant in some off-campus circumstances,” including

“serious or severe bullying or harassment targeting particular individuals; threats

aimed at teachers or other students; the failure to follow rules concerning lessons, the

writing of papers, the use of computers, or participation in other online school

activities; and breaches of school security devices, including material maintained

within school computers.” Id.

      At bottom, schools are permitted to and justified in regulating student speech,

on or off-campus speech, where the speech in question threatens a concrete and

“substantial disruption.” Mahanoy Area Sch. Dist., 594 U.S. at 192; see also

Hazelwood School Dist., 484 U.S. at 266 (recognizing students can be punished for

speech if “school authorities have reason to believe that [their speech] will

substantially interfere with the work of the school or impinge upon the rights of other

students”); Nuxoll ex rel. Nuxoll v. Indian Prairie Sch. Dist. # 204, 523 F.3d 668, 673

(7th Cir. 2008) (explaining “[i]t is enough for the school to present facts which might

reasonably lead school officials to forecast substantial disruption”).

      Applying these standards, the Court finds that Defendants’ disciplinary

measures in response to Plaintiff’s “leave” message did not cross the constitutional

Rubicon.




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       Here, in Plaintiff’s view, her “leave” message, which was sent from her

cellphone, off school grounds, and outside school hours, is protected off-campus

speech. See generally Resp. However, such a characterization is superficial and gives

way when viewed through the lens of the message’s content and the reaction it

provoked.

       Specially, Plaintiff’s message was explicitly targeted at another student, D.E.,

and conceivably conveyed animus based on perceived national origin: “leave. go back

to wherever u came from.” By Defendants’ account, 5 this message was racially

offensive and anti-immigrant in tone. Mot. Dismiss ¶ 15. Moreover, Plaintiff’s speech

involved a direct command (“leave”) and used second-person pronouns, affirming that

the message was not abstract or political in nature. Rather, it was a personal directive




5Defendants’ account is supported by several events outlined in their petition for judicial

notice. Over Plaintiff’s objection, the Court grant’s Defendants’ petition. Under Federal Rule
of Evidence 201(b), a court may take judicial notice of an adjudicative fact only if it is “not
subject to reasonable dispute” and falls into one of two categories: (1) it is generally known
within the trial court’s territorial jurisdiction, or (2) it can be accurately and readily
determined from sources whose accuracy cannot reasonably be questioned. Depuy Synthes
Sales, Inc. v. OrthoLA, Inc., 403 F. Supp. 3d 690 (2019). Applying this standard, the Court
finds that beginning in May 2020 and continuing throughout, the United States experienced
a period of profound civil unrest and international protest were staged in response to the
murder of George Floyd. These events unfolded against a broader sociopolitical backdrop that
included the resurgence of the “build the wall” chant, originating during the 2015–2016
presidential election season and persisting through the 2020 election cycle, and culminated
in the January 6th, 2021 insurrection at the U.S. Capitol. The Court finds these events
relevant, as they are emblematic of heightened national tensions and sociopolitical
polarization, and provide critical context for the claims at issue. The aforementioned events
are indisputable and are both known within the jurisdiction of the Northern District of
Illinois and can be accurately and readily determined by accurate sources. Ocampo v.
Remedial Envtl. Manpower, Inc., 2014 WL 2893190, at *2 (N.D. Ill. June 26, 2014) (“When
presented with a motion to dismiss, the Court may ‘take judicial notice of matters of public
record.’”) (quoting Henson v. CSC Credit Servs., 29 F.3d 280, 284 (7th Cir. 1994)).
Accordingly, the Court takes notice of the aforementioned events as relevant adjudicative
facts.



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aimed at alienating another student based on identity, which distinguishes this case

from the kind of protected general vulgarity in Mahanoy, placing it squarely within

the category of off-campus speech that a school may legitimately regulate to prevent

discriminatory harm.

      Furthermore, Defendants did not learn of the message through generalized

social media monitoring; rather, the intended target of the speech, D.E., reported it

directly to school administrators, underscoring its impact. That act of reporting is not

a neutral fact; it underscores the gravity of the situation and highlights the message’s

impact: harm or disruption, which in turn implicates Defendants’ duty to act.

      Importantly, under applicable law, actual disruption need not be shown for

disciplinary action to be justified; the potential or reasonable forecast of disruption is

sufficient. See Nuxoll ex rel. Nuxoll 523 F.3d at 673 (“the threat of disruption” satisfies

the standard). In this case, the message’s delivery to and direct impact on D.E.,

prompting a formal report, demonstrates a concrete basis for anticipating disruption,

thereby meeting the threshold required for the school’s responsive measures. See, e.g.,

Mahanoy Area School District, 594 U.S. at 188 (acknowledging schools may regulate

off-campus speech that is discriminatory or harassing, particularly where the speech

is directed at individual students and has repercussions for campus climate).

      All in all, given the direct, targeted, and inflammatory nature of Plaintiff’s

message; and the actual and threat of disruption it caused as evidenced by the

victim’s report, the disciplinary measures imposed on Plaintiff did not transgress the

limits of the First Amendment. They instead reflect a constitutionally permissible




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exercise of school discretion in response to off-campus conduct that reasonably

threatened substantial disruption and encroached upon the rights of another student.

Accordingly, the Court grants Defendants’ motion to dismiss Count I.

         Plaintiff requests that the Court allow her to amend her pleading as to any

dismissed claims. Resp. at 15. However, “Rule 15(a) says that a party may amend its

complaint once as a matter of course. After that, leave to amend depends on

persuading the judge that an amendment would solve outstanding problems without

causing undue prejudice to the adversaries.” Bank of Am., N.A. v. Knight, 725 F.3d

815, 819 (7th Cir. 2013); see also Haywood v. Massage Envy Franchising, LLC, 887

F.3d 329, 335 (7th Cir. 2018) (“Nothing in Rule 15, nor in any of our cases, suggests

that a district court must give leave to amend a complaint where a party does not

request it or suggest to the court the ways in which it might cure the defects. To the

contrary, we have held that courts are within their discretion to dismiss with

prejudice where a party does not make such a request or showing.”). Here, Plaintiff

has not provided any indication to the Court how she might amend her complaint for

a third time to cure the problems with her First Amendment claim, and the Court

cannot discern any possible amendment that would do so. Accordingly, the dismissal

of Count I is with prejudice.

   II.      Deprivation of the Right to Freedom of Association (Count II)
         In Count II, Plaintiff asserts that, in violation of Section 1983, Defendants

deprived her of her First Amendment Right to Freedom of Association. FAC ¶¶ 53–

61. Specifically, Plaintiff alleges that Deans Ebel and Watson interfered with her

right to Freedom of Association by instructing G.G. to block her on Snapchat, a



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directive with which G.G. complied. Id. ¶ 59. This was done, again, posits Plaintiff,

on account of Deans Ebel and Watson following Board policy, or alternatively acting

as final decision makers pursuant to the power granted to them by Illinois law and

the Board. Id. ¶¶ 57–58.

      Defendants generally contend that Plaintiff’s Freedom of Association claim is

not viable. Mot. Dismiss ¶ 28. According to Defendants, Count II fails as a matter of

law because Plaintiff has not alleged “a policy, practice or custom, or claimed that a

final policy maker deprived her of her rights,” or that she had been denied her right

to freedom of expressive association on a protected area of expression. Id.

      Defendants’ position, however, is both perplexing and terminally unsupported.

To start, Plaintiff clearly alleges that the impetus of her constitutional violation was

Deans Ebel and Watson following Board policy, or alternatively acting as final

decision makers pursuant to the power granted to them by Illinois law and the Board.

FAC ¶¶ 57–58. In essence, Plaintiff contends that the constitutional violation stems

from a deliberate directive issued under color of law by school officials, either

pursuant to official policy or as final decision makers under state law.

      In light of these allegations, Defendants’ sweeping claim that “Plaintiff has not

alleged a policy, practice or custom, or claimed that a final policy maker deprived her

of her rights,” does not square with a plain reading of the FAC. True, Defendants are

free to challenge the sufficiency of these allegations. What they may not do is pretend

as though such allegations are nonexistent. See generally Twombly, 550 U.S. at 555;

Iqbal, 556 U.S. at 678–79.




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      Additionally, Defendants fail to provide the Court with a legal framework

against which their assertions regarding Plaintiff’s Freedom of Association claim can

be meaningfully assessed. Mot. Dismiss ¶ 28. Instead of grounding their position in

precedent or articulating a coherent doctrinal analysis, Defendants merely assert

that “Plaintiff has not alleged that she was denied her right to freedom of expressive

association on a protected area of expression,” without explaining the legal

significance of this statement in a substantive way. Id.

      Defendants characterize Plaintiff’s message as derogatory and xenophobic,

without mentioning, much less engaging, the basis of her Freedom of Association

claim: the Deans directing a fellow student to block her on Snapchat. Mot. Dismiss

¶ 28. Nor do Defendants argue that the blocking directive was part of the punishment

regime in response to Plaintiff’s “leave” message. See generally Mot. Dismiss.

      At bottom, Defendants’ sparse interaction with Plaintiff’s Freedom of

Association claim falls short. While the Court notes that certain political, religious,

or intimate associations have traditionally received First Amendment protection, it

cannot be expected to assume the role of advocate and construct arguments that

Defendants have chosen not to make.

      As the Supreme Court has explained, “[i]n our adversarial system of

adjudication, we follow the principle of party presentation, [which is] designed around

the premise that parties represented by competent counsel know what is best for

them, and are responsible for advancing the facts and argument entitling them to

relief.” United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020). “The Court will




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not make arguments for the parties, nor should the parties expect that the Court will

consider arguments that the parties could have made, but did not.” Fair Hous. Ctr. of

C. Indiana, Inc. v. Rainbow Realty Group, Inc., 2022 WL 6158365, at *1 (S.D. Ind.

Oct. 7, 2022).

      Vague contentions without supporting legal authority need not be considered.

Shipley v. Chicago Bd. of Election Commissioners, 947 F.3d 1056, 1063 (7th Cir. 2020)

(“Arguments that are underdeveloped, cursory, and lack supporting authority are

waived.”); Uncommon, LLC v. Spigen, Inc., 926 F.3d 409, 419 n.2 (7th Cir. 2019) (“As

briefed, the argument is terse, free of legal citation, and vague. It is therefore

waived.”); Crespo v. Colvin, 824 F.3d 667, 674 (7th Cir. 2016) (explaining perfunctory

and undeveloped arguments, and arguments that are unsupported by pertinent

authority are waived). “A litigant who fails to press a point by supporting it with

pertinent authority, or by showing why it is a good point despite a lack of supporting

authority or in the face of contrary authority, forfeits the point.” United States v.

Giovannetti, 919 F.2d 1223, 1230 (7th Cir. 1990). Accordingly, Defendants’ motion to

dismiss Count II is denied.

   III.   Injunctive and Other Relief (Count III)
      In Count III, Plaintiff requests injunctive and other relief. FAC ¶¶ 62–63.

Specifically, Plaintiff seeks a judgment (1) ordering the Board to remove the

suspension and 80 demerits from her record; (2) “declaring” that, if any colleges or

universities have been informed by Defendants of Plaintiff’s suspension or any

related matter, the Defendants shall issue a written retraction to those institutions,

stating that the suspension resulted from the Defendants’ own error and should be



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disregarded; (3) enjoining further or continuing discipline against Plaintiff related to

the facts alleged in the FAC; and (4) awarding costs and reasonable attorney’s fees.

Id. ¶ 63.

         As to this Count, Defendants challenge only Item (2), Plaintiff’s request for

relief vis-à-vis colleges and universities, which, from Defendants’ perspective, is

premature. Mot. Dismiss ¶ 34. Defendants contend that Plaintiff has only alleged a

hypothetical controversy (“if any colleges or universities have been notified by

Defendants regarding Plaintiff’s suspension . . . Defendants must send those colleges

and universities a retraction . . .”), and such a controversy does not square with the

Declaratory Judgment Act, which permits courts to issue declaratory judgments

where “there is an actual controversy between two parties.” Id. (quoting NewPage

Wis. Sys. Inc. v. United Steel, et al., 651 F.3d 775, 776 (7th Cir. 2011); Schilling v.

Rogers, 363 U.S. 666, 677 (1960) (“[T]he availability of [declaratory] relief

presupposes the existence of a judicially remediable right.”)).

         Plaintiff, however, takes Defendants’ view of the prevailing law to task,

arguing that “[a] dispute is not hypothetical when it is based on facts that are likely

to occur.” Resp. at 15 (citing Rimini Street, Inc., v. AXIS Insurance Company, 644

F.Supp.3d 467, 473 (N.D. Ill. 2022)). Thus, as Plaintiff sees it, “the relevant question

. . . is whether it is likely that Defendants might need to notify colleges that Plaintiff

was suspended in error.” Id. The answer to this question, Plaintiff maintains, is yes.

Id.




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      Both Plaintiff and Defendants misfire. True, declaratory judgment requires

“an actual case or controversy,” see Geisha, LLC v. Tuccillo, 525 F. Supp. 2d 1002,

1009–10 (N.D. Ill. 2007), and generally, the question is “whether the facts alleged,

under all the circumstances, show that there is a substantial controversy, between

parties having adverse legal interests, of sufficient immediacy and reality to warrant

the issuance of a declaratory judgment.” MedImmune, Inc. v. Genentech, Inc., 549

U.S. 118, 127 (2007). It also true, however, that when determining whether an actual

case or controversy exist in certain contexts, courts in this Circuit have asked

whether the “events . . . are likely to occur.” Astellas US Holding, Inc. v. Starr Indem.

& Liab. Co., 2018 WL 2431969, at *6 (N.D. Ill. May 30, 2018) (citing Cushman &

Wakefield, Inc. v. Ill. Nat’l Ins. Co., 2015 WL 2259647, at *4 (N.D. Ill. May 11, 2015)).

      Item 2, however, does not seek declaratory relief, despite Plaintiff’s use of the

word “declaring” in the FAC. FAC ¶ 63. “The purpose of declaratory relief is to allow

the adjudication of rights and obligations in cases involving an actual controversy but

have not yet reached the stage in which a party could sue for coercive relief, such as

damages.” Wisconsin State Sen. v. City of Green Bay, 719 F. Supp. 3d 869, 877 (E.D.

Wis. 2024). In other words, declaratory relief involves a court stating the legal rights

or status of the parties without ordering them to do anything. Id.

      Labeling and form aside, the essence of Item 2 is action, not clarification. Avery

v. City of Milwaukee, 847 F.3d 433, 438 (7th Cir. 2017) (focusing on substance and

purpose over labels and form). Thus, Plaintiff’s request that Court the order

Defendants to send colleges retractions should the Court determine that the




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disciplinary measures taken in response to her “leave” message contravene the First

Amendment is a cry for injunctive relief. FAC ¶ 63; see also U.S. v. Oregon State

Medical Society, 343 U.S. 326, 333 (1952) (recognizing injunctive relief is a form of

equitable remedy issued by courts to prevent or mandate certain actions to address

ongoing or future harm); City of Chicago v. Barr, 961 F.3d 882, 910 (7th Cir. 2020)

(“Injunctive relief is forward-looking, and a plaintiff injured by an unconstitutional

or unlawful action in one year does not need to suffer injuries repeatedly in each

ensuing year—and separately sue after each injury—to obtain relief from the

unlawful actions.”).

         Even still, given the Court’s finding as to and dismissal of Count I, Plaintiff’s

request for retractions cannot stand. Without a viable underlying claim, the

injunctive relief sought in Item 2 lacks independent legal grounding and is therefore

not cognizable. U.S. ex rel. Walner v. NorthShore U. Healthsystem, 660 F. Supp. 2d

891, 899 (N.D. Ill. 2009) (explaining that in order to adequately state a claim for

injunctive relief plaintiff must establish a reasonable likelihood of prevailing on the

underlying legal claim). Thus, the Court grants Defendants’ motion to dismiss

Plaintiff’s request under Item 2. For the same reasons discussed above, see supra

Section I, the dismissal is with prejudice.

   IV.      Indemnification (Count IV)
         In Count IV, Plaintiff brings an indemnification claim against the Board

pursuant to 105 ILCS 5/10-20.20. FAC ¶¶ 64–67. Defendants move to dismiss Count

IV, arguing that Plaintiff does not have standing under the plain language of 105

ILCS 5/10-20.20, which provides in relevant part:



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        Such indemnification and protection shall extend to persons who were
        members of school boards, employees of school boards, authorized
        volunteer personnel, mentors of certified staff, or student teachers at
        the time of the incident from which a claim arises.

Mot. Dismiss ¶ 35 (quoting 105 ILCS 5/10-20.20).

       In response, Plaintiff clarifies that her indemnification claim “simply provides

notice that, if the Defendant Deans are found liable, Plaintiff will be requiring the

School Board to pay whatever damages are awarded against them.” Resp. at 14.

Plaintiff also notes that indemnification is also authorized by 745 ILCS 10/9-102. Id.

The Court agrees with Plaintiff.

       It is well established that a Section 1983 plaintiff may bring an indemnification

claim prior to judgment against a government actor and is permitted to give notice of

the same under applicable indemnification statutes. See, e.g., Wilson v. City of

Chicago, 120 F.3d 681 (7th Cir. 1997) (holding that plaintiff was not required to wait

until final judgment was entered on his civil rights claim against police officer before

seeking to hold city derivatively liable for such judgment); Schneider v. Cnty. of Will,

Ill., 528 Fed. App’x. 590, 591 (7th Cir. 2013) (Will County named as a defendant for

an indemnity claim regarding the sheriff and warden; no independent constitutional

violations were alleged against Will County); Perkins v. O'Shaughnessy, 2011 WL

579333, at *4 (N.D. Ill. Feb. 9, 2011) (“Permitting Plaintiffs to bring a conditional

indemnification claim now may be more efficient than requiring them to wait until

final judgment and will not prejudice the Defendant Officers or the City.”); Cates v.

Manning, 2020 WL 1863299, at *2 (N.D. Ill. 2020) (emphasis added) (Section 1983

“plaintiffs   routinely   assert   section   9-102   indemnification   claims     against




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municipalities simultaneously with the underlying claims against the individual

officers who may have harmed them.”); Coles v. City of Chicago, 361 F. Supp.2d

740,746 (N.D. Ill. 2005) (emphasis added) (“[I]t is common, and indeed advisable, for

a plaintiff who expects a public entity to indemnify a Section 1983 judgment to add

that entity as a defendant on the indemnity claim during the pendency of the Section

1983 case.”). Accordingly, Defendants’ motion to dismiss Count IV is denied.

                                     Conclusion

      For the reasons stated above, Defendants’ Motion [29] is granted with

prejudice as to Counts I and Item 2 of Count III, and is denied as to Counts II and IV.

On or before July 21, 2025, the parties are directed to file a status report indicating

whether, in light of the Court’s ruling, the parties are mutually interested in a

settlement conference before Magistrate Judge Kim. If not, the status report should

indicate whether any party intends to move for summary judgment, and if so, if more

than one parties intend to move for summary judgment, they should provide a

proposed briefing schedule that comprises of four briefs instead of six (e.g., (1) Party

A’s opening motion, (2) Party B’s cross-motion and response to Party A’s motion, (3)

Party A’s reply and response to Party B’s cross-motion, (4) Party B’s reply to cross-

motion). The Court understands that the parties did not engage in expert discovery

[90], so there should not be any Daubert motions; however, if that is incorrect, the

parties should inform the Court in the status report. If no parties intend to move for

summary judgment, the status report should indicate: (1) whether the parties consent

to proceeding with trial before the Magistrate Judge, (2) whether the parties consent




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to a bench trial, (3) the anticipated number of days for trial (including voir dire), and

(4) the expected number of witnesses.




Date: July 7, 2025
                                                United States District Judge
                                                Franklin U. Valderrama




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